728 F.2d 1274
    115 L.R.R.M. (BNA) 3700, 100 Lab.Cas.  P 10,942
    RALEY'S, INC., Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent,andRetail Clerks Union Locals 373, 588 and 1179, United Food &amp;Commercial Workers, AFL-CIO and Independent DrugClerks Association, Intervenors.
    Nos. 81-7471, 81-7592.
    United States Court of Appeals,Ninth Circuit.
    March 22, 1984.
    
      Henry R. Telfeian, McLaughlin &amp; Irvin, Norman Leonard, San Francisco, Cal., for petitioner.
      David R. Marshall, N.L.R.B., Washington, D.C., for respondent.
      Petition for Review of a Decision of the National Labor Relations Board.
      Before KENNEDY, ALARCON and NELSON, Circuit Judges.
    
    
      1
      Pursuant to the decision filed by the en banc court in this case on February 13, 1984, 725 F.2d 1204, the opinion previously filed by the above panel on April 7, 1983 is hereby modified.  Since the en banc court overruled Anja Engineering Corp. v. NLRB, 685 F.2d 292 (9th Cir.1982), our previous order, see 703 F.2d 410 (9th Cir.1983) to remand for consideration whether to order a new election is withdrawn, as no remand is necessary.
    
    
      2
      We reverse the unfair labor practice findings on the Board's third charge, and affirm the unfair labor practice findings on the first, second and fourth charges.
    
    
      3
      ENFORCEMENT GRANTED IN PART AND DENIED IN PART.
    
    